Case 2:04-cr-20358-SH|\/| Document 69 Filed 06/13/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COU`RT
FOR TH.E WESTERN DISTRICT OF TEN'NESSEE
WESTERN DIV`ISION

UNITED STATES OF AMERICA,
Plaintiff,
vs.

ALFONZO MITCHELL ,

-._r-_/~_¢-._/~_._¢-._/~_._.¢~_/~_._¢

Defendant.

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CR. NO. 04-20358-Ma

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005.

Defense

Counsel requested a continuance of the present trial date in order

to allow for additional preparation in the case and to allow for

the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to

the rotation docket beginning July 5, 2005 at 9:30 a.m., with a

report date of Friday, June 24, 2005 at 2:00 p.m.

The period from May 31, 2005 through July 15,

2005 is

excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and BlGl(h)(l)(F)

because the interests of justice in allowing additional time to

prepare and the need to dispose of the pending motion outweigh the

need for a speedy trial.

IT IS SO ORD`ERED this

 

(3“` day of June, 2005.

J////vi..m.

 

SAMUEL H. MAYS, JP..

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with Hule 55 and/or 32(b) FRCrP on

 
 
 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
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Honorable Samuel Mays
US DISTRICT COURT

